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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE


CHRISTOPHER S. SONTCHI                                             824 N. MARKET STREET
CHIEF JUDGE                                                      WILMINGTON, DELAWARE
                                                                           (302) 252-2888




                                        March 12, 2021

VIA CM/ECF
Brian E. Farnan                                        Adam G. Landis
Michael J. Farnan                                      Matthew B. McGuire
FARNAN LLP                                             LANDIS RATH & COBB LLP
919 North Market Street                                919 Market Street
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Wilmington, DE 19801                                   Wilmington, DE 19801

      -and-                                                   -and-

J. Christopher Shore                                   Howard Zelbo
Matthew L. Nicholson                                   Victor L. Hou
WHITE & CASE LLP                                       Ari D. MacKinnon
1221 Avenue of the Americas                            CLEARY GOTTLIEB STEEN
New York, New York 10020                               & HAMILTON LLP
                                                       One Liberty Plaza
                                                       New York, New York 10006

      RE:     Maxus Energy Corporation, et al., 16-11501
              Maxus Liquidating Trust v. YPF, S.A., et al., 18-50489


Dear Counsel,
       I am writing in connection with YPF Defendants’ Motion to Disqualify White &
Case LLP as Counsel for the Maxus Liquidating Trust, D.I. 306 (“Motion to Disqualify”),
which was filed on December 19, 2020, and for which briefing was completed on February
26, 2021. As you recall, the Court held a status conference on the Motion to Disqualify on
March 2, 2021, at which the Court offered some suggestions regarding the scheduling and
conduct of the hearing, which had been scheduled by the movants for a two-day
evidentiary hearing in mid-April. The Court requested the parties to consult and get back
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to the Court. On March 8, the Court requested the parties to report their agreement by
12:00 noon on March 12 or the Court would schedule the hearing and establish the rules
as to the conduct of the hearing on its own. The parties have not been able to report an
agreement in a timely manner. Thus, the Court hereby establishes the following schedule
and rules governing the conduct of the hearing. Please note that the scheduling and rules
regarding the conduct of the hearing may be modified by the agreement of the parties
submitted to the Court by no later than March 29, 2021 at 4:00 p.m.
      1. The hearing shall occur on April 1, 2021 at 10:00 a.m. and last until no later than
         5:00 p.m. with a 45-minute lunch break.
      2. Except as set forth below, evidence shall consist of the declarations (and
         exhibits thereto) filed in connection with the briefing, subject to objections to
         be presented at the hearing.
      3. Direct testimony will be via declarations. Live witness testimony shall be
         limited to the cross-examination and re-direct (no re-cross) of the following
         witnesses:
             a. Ms. Lauria neé Boelter
             b. Mr. Kuster
             c. Mr. Lahore
      4. Each side shall be allowed no more than a total of two hours to cross-examine
         and re-direct witnesses (excluding Court recesses). The parties shall both keep
         time, and the Court will resolve any disputes. The Court will not count time
         against a party cross-examining a witness where the witness is evasive or is
         otherwise obstructive.
      5. Depositions shall be limited to the live witnesses and there will be no written
         discovery. Deposition testimony may be used for any purpose, not just
         impeachment. No video depositions will be considered – transcripts only. Any
         deposition designations and cross-designations must be submitted after
         consultation among the parties by no later than March 31, 2021 at 4:00 p.m.
      6. Unless otherwise ordered by the Court, there will be no live testimony of any
         other witness.
      7. Documentary evidence other than that attached to the declarations may be
         submitted (subject to objections).
      8. The parties shall follow chambers procedures re submission of documents and
         witnesses.
      9. The court will not hear opening argument but will hear closing argument.
      10. No post-trial briefing.



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      Any questions or disputes regarding the above, should first be submitted to Ms.
Danielle Gadson and Ms. Cheryl Szymanski via e-mail. If necessary, the Court will
request the submission of letters and/or schedule a Zoom conference.


                                              Sincerely,



                                              Christopher S. Sontchi
                                              Chief United States Bankruptcy Judge




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